
47 So.3d 379 (2010)
Timothy THOMAS, Jr., Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2977.
District Court of Appeal of Florida, Fifth District.
November 12, 2010.
Timothy Thomas, Jr., Palatka, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case numbers 07-1819-CF, 07-1857-CF, and 07-2006-CF, in the Circuit Court in and for Putnam County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
GRIFFIN, ORFINGER and COHEN, JJ., concur.
